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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


    IN RE: AQUEOUS FILM-FORMING                             MDL No. 2:18-mn-2873-RMG
    FOAMS PRODUCTS LIABILITY
    LITIGATION                                                 [PROPOSED]
                                                       CASE MANAGEME ORDER NO. 28

                                                          This Order Relates to All Actions


                                CASE MANAGEMENT ORDER

        By Order dated December 5, 2023 [ECF 4149] [hereafter “December 5, 2023 Order”], the

Court directed the parties to meet and confer and to propose a CMO that sets forth a plan to address

the individual personal injury cases that do not fall within CMO 26. Following a Joint Motion by

the parties dated February 2, 2024, the Court on February 5, 2024 extended this deadline until

February 28, 2024 [ECF 4458] and, upon further motion of the parties [ECF 4570], the Court

further extended the deadline to March 4, 2024 [ECF 4571].

        1.     By March 13, 2024, Plaintiffs shall identify the diseases not addressed in CMO 26

that they assert are associated with exposure to an AFFF source in drinking water and shall serve

the list on the Defense Co-Leads and Liaison Counsel and provide it to the Court. 1 Plaintiffs are

not waiving any rights related to any injuries by not including them on the list of injuries identified

under this paragraph.

        2.     In accordance with the following schedule, the parties shall produce all peer

reviewed articles which support or dispute an association of any diseases listed and identified by



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  There are two additional Leach injuries that are not addressed in CMO-26, high cholesterol and
pregnancy-induced hypertension. The parties shall continue to meet and confer on these cases
and, on or before May 1, 2024, submit an agreed order addressing these two conditions or, if unable
to agree, shall submit competing proposals to the Court.
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the PEC pursuant to Paragraph 1 with exposure to an AFFF source in drinking water.

            a. The PEC will produce to the DCC all peer reviewed articles or studies which support

               an association of any diseases listed and identified by the PEC pursuant to Paragraph

               1 by April 3, 2024.

            b. The DCC shall produce to the PEC all peer reviewed articles or studies which

               dispute an association of any diseases listed and identified by the PEC pursuant to

               Paragraph 1 by May 1, 2024.

            c. By May 15, 2024, the Parties shall jointly submit to the Court these peer reviewed

               articles and studies in a manner that facilitates the Court’s and the Parties’ efficient

               review of these peer reviewed articles and studies.

       3.       The Court and the parties shall conduct a Science Day to allow the parties to present

a limited number of experts to the Court to address the claimed association of diseases on the list

in Paragraph 1 to exposure to an AFFF source in drinking water in accordance with the following:

              a. Following receipt of the peer-reviewed studies discussed in Paragraph 2 of this

                 Order, the Court with input from the parties will set a Science Day under the terms

                 set below.

              b. The PEC shall promptly notify the DCC and the Court as to modifications, if any,

                 to the list provided pursuant to Paragraph 1. The PEC and DCC shall meet and

                 confer regarding any modifications to the list no later than eight weeks prior to

                 Science Day.

              c. Upon submission of the list called for in Paragraph 1 of this Order, and in light of

                 the number of different diseases identified in such list, the Parties shall meet and

                 confer as to the number and sequencing of experts and the time allotted to each



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                side’s experts during Science Day. The Parties shall submit either an agreed

                proposal or competing proposals as to these issues by no later than 28 days prior

                to Science Day.

             d. The presentations and questioning will be under the control and direction of the

                Court. Counsel will not be involved in making presentations or questioning the

                experts.

             e. The presentations, supportive materials, and responses of the experts are off the

                record and may not be used in any manner by any party in any aspect of the AFFF

                MDL or any other proceeding. A transcript of the Science Day will be made

                strictly for the Court’s use and will not be provided to any party.

             f. The PEC and DCC will make available to the Court the CVs of their experts at

                least 14 days before Science Day.

             g. Experts may use PowerPoints and provide supportive charts and data, but they

                should anticipate the Court actively participating in and directing questioning.

        4.     The parties shall meet and confer regarding the parameters of selecting one or more

bellwether cases, guided by the Court’s directives in its Order dated December 5, 2023 [ECF 4149]

as well as the Court’s previous Bellwether Orders enumerated as CMO 26, 26A, and 26B. The

parties will endeavor to submit an agreed to Order or competing Orders to address a bellwether

process for the diseases listed and identified by the PEC pursuant to Paragraph 1, above on or

before 60 days after Science Day.

       5.      The parties shall meet and confer regarding Daubert and dispositive motions and

will set forth their plan in the CMO submitted under Paragraph 4, above.

       6.      Effective April 24, 2024, any Plaintiff asserting or seeking to assert an “Unlisted



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Claim,” defined as a disease or condition that is not on the list filed with the Court pursuant to

Paragraph 1, not among the conditions addressed by CMO 26, or not pregnancy-induced

hypertension or high cholesterol shall be subject to the following requirements:

            a. Plaintiffs with filed actions shall have 90 days to dismiss such Unlisted Claims or

                their entire case if the Unlisted Claims are the sole claim(s) being pursued and

                may do so in a dismissal without prejudice, provided that any such dismissal

                without prejudice shall be conditioned on the following requirements to reactivate

                or re-file any such Unlisted Claims:

                   i.   Any lawsuit involving such Unlisted Claims shall be filed in this MDL

                        unless this MDL shall have been concluded and, in that instance, any such

                        lawsuit shall be refiled in an appropriate federal court.

                  ii.   Any Plaintiff refiling such a lawsuit or re-activating such claims shall be

                        required to tender (to the extent not already provided via a Plaintiff Fact

                        Sheet) complete medical records relating to their claimed disease or

                        condition within 135 days of such refiling or reactivation and shall further

                        be required to provide to Defendants named in the action expert reports

                        compliant with Federal Rule of Civil Procedure 26 on general and specific

                        causation for the specific alleged disease(s) or condition(s) within 180

                        days of any such filing or reactivation.

            b. Solely for purposes of this Order, Defendants named in any action dismissed

                pursuant to paragraph 6(a) are deemed to agree that the statute of limitations

                related to the claims of any plaintiffs whose cases are voluntarily dismissed

                pursuant to paragraph 6(a) are tolled from the date of the plaintiff’s original filing.



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         For the avoidance of doubt, any and all defenses, including statute of limitations,

         existing as of the time of the filing of the original lawsuit, are preserved and not

         waived by Defendants. Unless and until a Plaintiff complies with the requirements

         of Paragraph 6(a) of this Order, all other proceedings in a re-filed case or

         reactivated claim shall be stayed absent order of Court. Unless otherwise agreed

         by individual parties, this tolling provision shall apply for a maximum period four

         years from the date of any Order dismissing the case or claims without prejudice

         unless the case has otherwise been resolved or dismissed with prejudice in the

         interim. Nothing herein eliminates a plaintiff’s right to pursue a claim that timely

         accrues hereafter.

      c. Any Plaintiff who does not file a dismissal without prejudice per the terms of this

         Order shall face dismissal of their Unlisted Claims with prejudice upon motion by

         Defendants unless, within 180 days, the Plaintiff tenders (to the extent not already

         provided via a Plaintiff Fact Sheet) to Defendants named in the action complete

         medical records for the Unlisted Claims and within 240 days, tenders to

         Defendants expert reports compliant with Federal Rule of Civil Procedure 26 on

         general and specific causation for the specific alleged disease(s) or condition(s)

         they seek to pursue. Unless and until a Plaintiff complies with the requirements

         this Paragraph 6(c), all other proceedings in a re-filed case or reactivated claim

         shall be stayed absent order of Court.

      d. Any newly filed lawsuits initiated in or transferred to this MDL alleging Unlisted

         Claims shall be subject to this Order, but shall not be entitled to any tolling as

         provided in Paragraph 6(b). Plaintiffs in such actions shall have 90 days from the



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         date the action is filed in or transferred to this MDL to dismiss their claims without

         prejudice pursuant to paragraph 6(a) above. Any such Plaintiff who does not file

         a dismissal without prejudice per the terms of this Order shall face dismissal of

         their Unlisted Claims with prejudice upon motion by Defendants unless, within

         180 days of the filing in or transfer to this MDL, the Plaintiff tenders (to the extent

         not already provided via Plaintiff Fact Sheet) to Defendants complete medical

         records for the Unlisted Claims and within 240 days of the filing in or transfer to

         this MDL, tenders to Defendants named in the action expert reports compliant

         with Federal Rule of Civil Procedure 26 on general and specific causation for the

         specific alleged disease(s) or condition(s) they seek to pursue. Unless and until a

         Plaintiff complies with this paragraph 6(d), all other proceedings in a re-filed or

         reactivated case shall be stayed absent order of Court.

      e. To the extent that Plaintiffs opt not to pursue dismissal without prejudice and,

         instead, produce the required medical records and expert reports as set forth in

         Paragraph 6(c) or 6(d) above, the parties shall confer and report to the Court on

         appropriate next steps to manage any such cases in this MDL.

      f. Failure to follow the terms of Paragraph 6 of this Order shall warrant entry of an

         order of dismissal with prejudice upon motion by Defendants.

      g. These conditions and requirements are binding on Plaintiffs individually

         regardless of the identity of counsel currently retained or later retained to pursue

         such Unlisted Claims.

      h. The obligations under Paragraph 6 are with counsel for individual plaintiffs, and

         not the PEC.



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           i. While Unlisted Claims are subject to the conditions described above, nothing in

               this order precludes a Plaintiff from seeking damages for any secondary injury,

               sequela, symptom or other form of damage directly related to one of the listed

               injuries, one of the CMO 26 injuries, pregnancy-induced hypertension or high

               cholesterol, even if those secondary injuries, sequela, symptoms or other forms of

               damage are dismissed as an independent claim according to the processes

               described above.

IT IS SO ORDERED.

Dated: March __, 2024
Charleston, South Carolina                         /s/_____________________

                                                   Hon. Richard M. Gergel
                                                   United States District Judge




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